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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

         v.
                                                       Criminal No. 18-cr-24 (DLF)
RICHARD PINEDO,

                       Defendant.


                                    JOINT STATUS REPORT

         The United States of America, by and through Special Counsel Robert S. Mueller, III, and

the defendant, Richard Pinedo, through counsel, respectfully submit this joint status report. The

parties request that the Court refer this case for the preparation of a presentence investigation

report, and that the parties provide a joint status report within thirty days, no later than June 28,

2018. Defense counsel for Mr. Pinedo has reviewed and agreed with this report.



                                                      Respectfully submitted,

                                                      ROBERT S. MUELLER, III
                                                      Special Counsel

Dated:        May 29, 2018                    By:            /s/ Ryan K. Dickey
                                                      Jeannie S. Rhee
                                                      L. Rush Atkinson
                                                      Ryan K. Dickey
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